           Case 8-17-74413-reg            Doc 22       Filed 09/18/17     Entered 09/18/17 13:37:36


UNITED STATES BANKRUPTCY COURT                                     Return Date: October 5, 2017
EASTERN DISTRICT OF NEW YORK                                       Time: 9:30 a.m.
--------------------------------------------------------X
In re:                                                             Chapter 13
                                                                   Case No.: 17-74413-736
VANESSA PUGH
AKA VANESSA D. PUGH,
AKA VANESSA PUGH-REEFER

                           Debtor(s)                               NOTICE OF MOTION
--------------------------------------------------------X
SIRS / MADAMS

        PLEASE TAKE NOTICE, that MICHAEL J. MACCO, Chapter 13 Trustee of the above captioned
estate, will move before the Honorable Robert E. Grossman, United States Bankruptcy Judge on the 5th day
of OCTOBER, 2017 at 9:30 a.m., at the United States Bankruptcy Court located at the Alfonse M. D’Amato
U.S. Courthouse, 290 Federal Plaza – Courtroom 860, Central Islip, New York 11722, for an Order pursuant
to 11 U.S.C. §§521 & 1307(c), dismissing this case by reason of the debtor(s)’ failure to provide and/or file
documents, and for such other and further relief as this Court deems just and proper.

              PLEASE TAKE FURTHER NOTICE, that answering papers, if any, shall be filed with the
Court and served upon the undersigned no later than three (3) days prior to the return date of this motion.

Dated: Islandia, New York                                   Yours, etc.
       September 18, 2017
                                                            MICHAEL J. MACCO
                                                            Chapter 13 Trustee
                                                            2950 Express Drive South, Suite 109
                                                            Islandia, New York 11749
                                                            (631) 549-7900

To:     Office of the United States Trustee
        VANESSA PUGH, Debtor(s)
        RONALD D. WEISS, ESQ. Attorney for Debtor(s)
        All Interested Parties and Creditors
             Case 8-17-74413-reg          Doc 22       Filed 09/18/17   Entered 09/18/17 13:37:36



UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------------------------------X          tmm1634
In re:                                                             Chapter 13
                                                                   Case No.: 17-74413-736
VANESSA PUGH
AKA VANESSA D. PUGH,
AKA VANESSA PUGH-REEFER

                           Debtor(s)                      APPLICATION
--------------------------------------------------------X
TO THE HONORABLE ROBERT E. GROSSMAN, UNITED STATES BANKRUPTCY JUDGE:

                MICHAEL J. MACCO, Chapter 13 Trustee in the above captioned estate, respectfully
represents as follows:

           1. The debtor(s) filed a petition under the provisions of 11 U.S.C. Chapter 13 on
July 20, 2017, and thereafter MICHAEL J. MACCO was duly appointed and has qualified as Trustee.

           2. As of the date of this motion, the debtor(s) has failed to provide the Trustee with
written appraisal for property; Amended Chapter 13 Plan; Amended Schedules; utility bills for the month of
August including gas/oil, and electric; Tax Transcripts for 2013-2016; Proof post-petition car payments
have been made; Amended Means Test; bank statements for all accounts from January 1, 2017 - July 31,
2017 including Citibank (3723) from January 1, 2017 – July 31, 2017 and Capitol One; Withdrawal from
Objection to Confirmation; Motion for second mortgage; and details of car loan including current balance.

              3. This is a material default and is prejudicial to the rights of the creditors of the
debtor(s).

            WHEREFORE, the Trustee prays for an Order pursuant to the provisions of 11 U.S.C.
§§521 & 1307(c), dismissing this case, and for such other and further relief as this Court deems just and
proper.

Dated: Islandia, New York
       September 18, 2017
                                                            /s/ Michael J. Macco
                                                            Michael J. Macco, Chapter 13 Trustee
                                                            2950 Express Drive, Suite 109
                                                            Islandia, NY 11749
                                                            (631) 549-7900
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STATE OF NEW YORK                   )
COUNTY OF SUFFOLK                   )    ss.:

                STEPHANIE TURNER, being duly sworn, deposes and says: deponent is not a party to this
action, is over 18 years of age, and resides in Suffolk County, New York.

                    On September 18, 2017 deponent served the within:

                                    NOTICE OF MOTION AND APPLICATION

upon the following parties, at the addresses designated by said parties for that purpose, by depositing a true
copy of same, enclosed in a post-paid, properly addressed wrapper in an official depository under the
exclusive care and custody of the United States Postal Service within the State of New York:

Vanessa Pugh
55 Tell Avenue
Deer Park, NY 11729
Debtor(s)

Wells Fargo Bank, N.A.
c/o Aldridge Pite, LLP
40 Marcus Drive, Suite 200
Melville, New York 11747

and upon the following parties, by the e-mail address designated by said parties for that purpose;

Office of the United States Trustee
Alfonse M. D’Amato U.S. Courthouse
560 Federal Plaza
Central Islip, NY 11722
USTPRegion02.LI.ECF@usdoj.gov

Ronald D. Weiss, Esq.
weiss@ny-bankruptcy.com
Attorney for Debtor(s)




                                                       /s/ Stephanie Turner _
                                                       STEPHANIE TURNER
Sworn to before me this
18th day of SEPTEMBER, 2017

/s/ Loni Bragin
NOTARY PUBLIC
Loni Bragin
Notary Public, State of New York
No. 01BR6172194
Qualified in Suffolk County
Commission Expires August 6, 2019
